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                       IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION




                                                 :

 JUAN LOZADA-LEONI,                              :

        Plaintiff,                               :

                                                 :   Civil Action No. _______

 vs.                                             :   COMPLAINT FOR VIOLATION OF
                                                     SECTION 806 OF THE SARBANES-
                                                 :
                                                     OXLEY ACT OF 2002, 18 U.S.C. §1514A
 MONEYGRAM INTERNATIONAL,                        :
 INC., JUAN MANUEL GONZALEZ and
                                                 :
 CHRISTOPHER PONDER in their                            Jury Demand
 official and individual capacities,             :

        Defendants.




       Plaintiff JUAN LOZADA-LEONI (“Plaintiff” or “Lozada”) by and through his attorney,

Steve Kardell, Esq., files this his Complaint demanding trial by jury against MoneyGram

International, Inc. (“MGI”), Juan Manuel Gonzalez (“Gonzalez”) and Christopher Ponder

(“Ponder”) (referred to individually or collectively as “Defendants”), hereby alleges as follows:


                                           OVERVIEW

       This is a retaliation/termination brought pursuant to Section 806 of the Sarbanes-Oxley

Act (“SOX”) case. In most cases these are fairly straightforward. The individual Defendants here

are two managers that were involved in Plaintiff's termination. The fact situation here is
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complicated because of a 2009 FTC Order, as well as a deferred prosecution agreement (DPA),

both of which were hanging, like a Sword of Damocles, over MGI at all times relevant herein.

These restrictions influenced all key decisions involved here, along with the oversight of a

monitor, in this case the New York office of Freshfields, an international law firm.

       Also significant is the fact that some 18 months after Plaintiff was terminated, MGI was

found to have violated the 2009 FTC Order, and was hit with massive new fines and sanctions,

along with a brand-new DPA.

        These new sanctions, in many cases, completely incorporated and adopted some of the

following complaints that Plaintiff had been terminated for raising:


       A. his complaints regarding Defendant’s violation of laws and regulations applicable to

           Defendant MGI (e.g., Bank Secrecy Act; Patriot Act, etc.);

       B. his complaints regarding Defendant’s willful violations of the FTC 2009 Order, and

       C. his complaints regarding Defendant’s willful violations of the DPA.

            JURISDICTION, VENUE AND PROCEDURAL PREREQUISITES

1.     Jurisdiction is conferred on this Court pursuant to 18 U.S.C. § 1514A et seq and 28

U.S.C. § 1331.

2.     Venue is proper in this district under 28 U.S.C. § 1391(a) because the acts that give rise

to this Complaint, as well as certain of the transactions, acts, practices and courses of conduct

constituting violations of the federal securities laws took place in this district. Defendant’s

principal place of business is in this district. Venue is also proper because a substantial part of

the events or omissions giving rise to the claim occurred in this judicial district.




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3.      On September 28, 2017, Plaintiff timely filed a complaint with the United States

Department of Labor. More than 180 days have elapsed since filing that complaint.1 This Court

has jurisdiction over this action without regard to the amount in controversy. 18 U.S.C.

§1514A(b)(1).


                                                   PARTIES

5.      Plaintiff JUAN LOZADA-LEONI (“Plaintiff” or “Lozada”), who began work as a Senior

Manager for the U.S. Compliance Team for MoneyGram International, Inc. on October 18, 2016.

6.      Defendant MONEYGRAM INTERNATIONAL, INC. (“Defendant” or “MGI”)

a publicly traded, global money services business, incorporated under the laws of Delaware, and

headquartered at 3000 Internet Blvd, Frisco, Texas 75034. MGI provides a service that enables

customers to transfer money to various locations in the United States and around the world.

MGI operates worldwide through a network of approximately 275,000 locations in 190

countries.

7.      Defendant Juan Manuel Gonzalez (“Gonzalez”) who was, at all relevant times, a Senior

Director for MGI. Gonzalez worked for MGI at its headquarters located at 3000 Internet Blvd.,

Frisco, Texas. At all relevant times, Gonzalez had supervisory authority over Plaintiff.

8.      Defendant Christopher Ponder (“Ponder”) who was, at all relevant times, the Director of

Human Resources for MGI. Ponder worked for MGI at its headquarters located at 3000 Internet




1
 From March 5, 2018 to the date of filing the instant action herein, this matter was before DOL Administrative Law
Judge Tracy Daly, bearing Cause No. 2018-SOX-0004.




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Blvd., Frisco, Texas. At all relevant times, Ponder had human resource authority over Plaintiff’s

terms and conditions of employment.

                                    FACTUAL ALLEGATIONS

9.      As a result of Plaintiff’s protected complaints, Defendant Gonzalez asserted pretextual

criticisms relating to alleged shortcomings in Plaintiff's work performance.

10.     As a result of Plaintiff’s lawful complaints, both MGI and Defendant Gonzalez

effectuated plaintiff's unlawful termination.

11.     As a result of Plaintiff’s protected complaints, both MGI and Defendant Ponder

authorized Plaintiff’s termination, without any warning.

12.     The conduct of MGI, Defendant Gonzalez and Defendant Ponder was in direct retaliation

for Plaintiff’s lawful protected activity.


                                 FIRST CAUSE OF ACTION
            (Retaliation in Violation of the Sarbanes-Oxley Act - 18 USC § 1514A)

13.     Plaintiff repeats and realleges each of the allegations contained in each of the preceding

paragraphs as though fully set forth herein.

14.     As set forth above, MGI and the individual Defendants violated the Sarbanes-Oxley Act

of 2002, 18 U.S.C. 1514A, by taking adverse employment actions against Plaintiff, including,

but not limited to, his termination, on April 4, 2017.

15.     All adverse employment actions were directed against Plaintiff herein, in retaliation for

the following protected activity:

        A. his complaints regarding Defendant’s violation of laws and regulations applicable to

            Defendant MGI (e.g., Bank Secrecy Act; Patriot Act, etc.);




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         B. his complaints regarding Defendant’s willful violations of the FTC 2009 Order, and

         C. his complaints regarding Defendant’s willful violations of the DPA.

         D. Plaintiff’s lawful conduct in attempting to improve MGI’s compliance program.

16.      As a direct and proximate cause of MGI and the individual Defendants’ retaliatory

conduct, Plaintiff has suffered and will continue to suffer severe financial, mental and emotional

hardship and injury including the loss of compensation, reduced possibilities for equivalent

future compensation, and other additional damages, including interest, attorney’s fees, costs and

disbursements.


                                         RELIEF SOUGHT


         A prevailing SOX whistleblower is entitled to “all relief necessary to make the employee

whole,” which, in Complainant’s case, includes the following:

      1. Back pay (lost wages and benefits);

      2. Reinstatement with the same seniority that the employee would have had, were it not for

         the retaliation;

      3. Alternatively; front pay in lieu of reinstatement;

      4. Special damages (damages for impairment of reputation, personal humiliation, mental

         anguish and suffering, and other noneconomic harm that results from retaliation); and

      5. Attorney’s fees, and costs.


                                                 Respectfully submitted,

                                                 /s/ Steve Kardell




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                                CERTIFICATE OF SERVICE


        I hereby certify that the foregoing document has been served via email on MGI’s
 counsel, John Barcus and Gary Eisenstat, on January 23, 2019.


                                            /s/ Steve Kardell




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